Case 2:03-CV-02622-SHI\/|-tmp Document 20 Filed 08/05/05 Page 1 of 2 P@e|D 42

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IN THE UNITED STATES DISTRICT cOURT
FOR THE wEsTERN DISTRICT OF TENNESSEB$ AU[‘, -5 Mq|[]: 214
WESTER.N DIVISION

 

 

ROBERT MULLINS.
Plaintiff,
VS. NO. 03-2621-MaP

ZAHRA UMLANI, BENCHMARK REALTORS,
LLC, AND FICTIOUSLY NAMED DEFENDANTS,

Defendants;
and
JII\'.|MY CLED/.|MER,
Plaintiff,
vs. No. 03-2622-Ma1='/

ZAHR.A UMLANI, BENCHM.ARK REAL'I‘ORS,
LLC, AND FICTIOUSLY NAMED DEFENDANTS,

Defendants.

 

ORDER OF DISMISSAL

 

The parties have submitted a “Consent Order of Dismissal” in

this matter indicating that these matters may be dismissed. It
is therefore ORDERED that case numbers 2:03cv2621~MaP and
2:O3cv2622-MaP are DISMISSED with prejudice as to all defendants.

SO ORDERED this ‘1J4Lday cf August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 20 in
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Honorable Samuel Mays
US DISTRICT COURT

